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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

                 BANK OF AMERICA, N.A.                          )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                V.
                                                                )       Civil Action No. 25-cv-2526
                                                                )
    S&J DISTRIBUTION INC. AND JOSE MALEH
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendants. name and address) JOSE MALEH
                                   157 WALLABOUT STREET, 2E
                                   BROOKLYN, NY 11206




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days i f you
are the United States or a United States agency, or an officer or employee o f the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - y o u must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules o f Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                 Michael Adam Samuels
                                 Chapman and Cutler LLP
                                 1270 Avenue of the Americas, 30th Floor
                                 New York, NY 10020



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT

           5/6/2025
Date:
                                                                                    Signature o f Clerk or Deputy Clerk
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 Civil Action No. 25-cv-2526

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name o f individual and title, i f any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person o f suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name o f individual)                                                                       , who is
           designated by law to accept service o f process on behalf o f (name o f organization)
                                                                                  on (date)                             ; or

           0 I returned the summons unexecuted because                                                                                • or

           0 Other (specify):




           My fees are$                            for travel and $                   for services, for a total o f $          0.00


           I declare under penalty o f perjury that this information is true.


Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address

Additional information regarding attempted service, etc:
